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 Julianne P. Blanch, USB #6495                    C. Ashley Callahan (pro hac vice)
 Grace S. Pusavat, USB #15713                     LAW OFFICES OF C. ASHLEY
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                                                  JONES
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                                                  Austin, TX 78746
                                                  Telephone: 512.552.6123
                                                  jjones@jgjoneslaw.com

Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


 KEITH F. BELL, PH.D.,
                                                  MOTION TO WITHDRAW AS
                                                  COUNSEL
         Plaintiff,

 v.                                               Case No. 2:19-cv-00209-TC

 GRANITE SCHOOL DISTRICT,                         District Judge Tena Campbell

         Defendant.

        Pursuant to DUCivR 83-1.4, Julianne P. Blanch and Grace Pusavat and the law firm of

Parsons Behle and Latimer, C. Ashley Callahan from the Law Offices of C. Ashley Callahan, and

Joshua G. Jones of the Law Offices of Joshua G. Jones (collectively, “Counsel”) move this Court




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for leave to withdraw as counsel for Keith F. Bell, Ph.D. (“Client” or “Plaintiff”). The Client’s

last known address is:

        Keith F. Bell
        3101 Mistyglen Cir.
        Austin, TX 78746
        (512) 327-2260
        drkeithbell@gmail.com

        The reason for withdrawal is that the representation has been rendered unreasonably

difficult due to a break down in the attorney-client relationship.

        This motion is made without the Client’s consent and is accompanied by a certification that

the motion was sent to the Client and to all parties. In accordance with DUCivR 83-1.4(b)(2),

attached as Exhibit 1 is a description of the status of the case including the dates and times of any

scheduled court proceedings, requirements under any existing court orders, and any possibility of

sanctions. The undersigned certifies that no trial date is set.

        A proposed Order Granting Motion to Withdraw as Counsel is attached as Exhibit 2 and

has been submitted in Word format by email to the presiding judge in this case.




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                                        NOTICE TO CLIENT

        1.         If this motion is granted and no Notice of Substitution of Counsel has been filed,

then you must file a Notice of Appearance within twenty-one (21) days after entry of the Order

Granting Motion to Withdraw as Counsel, unless otherwise ordered by the court.

        DATED this 19th day of December, 2019.



                                                PARSONS BEHLE & LATIMER



                                                  /s/ Grace S. Pusavat
                                                Grace S. Pusavat

                                                Attorneys Plaintiff




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 19th day of December, 2019, I caused a true and accurate copy

of the foregoing MOTION TO WITHDRAW AS COUNSEL to be served on Keith F. Bell as

follows:

        Keith F. Bell
        3101 Mistyglen Cir.
        Austin, TX 78746
        (512) 327-2260
        drkeithbell@gmail.com

        I further certify that on this 19th day of December, 2019, I caused a true and accurate copy

of the foregoing MOTION TO WITHDRAW AS COUNSEL to be served via CM/ECF on all

counsel who have enrolled to receive electronic service in this case.


                                              /s/ Grace S. Pusavat
                                              Grace S. Pusavat




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                                            Exhibit 1

Written description of the status of the case, including the dates and times of any scheduled court
proceedings, pending compliance with any existing court orders, and the possibility of sanctions




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                                 Status of Case No. 2:19-cv-00209-TC

        Plaintiff Keith F. Bell (“Plaintiff”) initiated this case by filing the Complaint against

Granite School District (“Defendant”) on March 28, 2019. The Complaint and Summons were

served on Defendant, and Plaintiff filed the Return of Service on April 15, 2019. Defendant filed

its Answer and Counterclaim on June 7, 2019. Plaintiff and Defendant (the “Parties”) filed the

Attorney Planning Meeting Report on June 19, 2019. Plaintiff filed his Answer to the Counterclaim

on June 29, 2019. The Court entered the Scheduling Order in this matter on September 19, 2019.

        On December 6, 2019, Defendant filed its Motion for Partial Summary Judgment. Because

Plaintiff’s counsel seeks to withdraw, Defendant has agreed to an extension until 30 days following

the appearance of Plaintiff’s new counsel.

        Pursuant to DUCivR 83-1.4(c), upon entry of an order granting a motion to withdraw, the

action shall be stayed until twenty-one (21) days after entry of the order; unless otherwise ordered

by the court. The Parties ask the Court stay the case until Plaintiff files his response to the Motion

for Partial Summary Judgment or the 30-day period following the appearance of Plaintiff’s new

counsel has expired. After expiration of the stay period, either party may request a scheduling

conference or submit a proposed amended scheduling order.

        Within twenty-one (21) days after entry of an order granting a motion to withdraw, or

within the time otherwise required by the court:

        (i)        Any individual whose attorney has withdrawn is required to file a notice of pro se

                   appearance or new counsel shall file an appearance on that party’s behalf.

        An unrepresented party who fails to appear within twenty-one (21) days after entry of the

order, or within the time otherwise required by the court, may be subject to sanction pursuant to

Federal Rule of Civil Procedure 16(f)(1), including but not limited to dismissal or default

judgment.

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                                         Exhibit 2

                   Proposed Order Granting Motion to Withdraw as Counsel




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 Julianne P. Blanch, USB #6495                     C. Ashley Callahan (pro hac vice)
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                                                   Telephone: 512.552.6123
                                                   jjones@jgjoneslaw.com

Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


 KEITH F. BELL, PH.D.,
                                                   ORDER GRANTING MOTION TO
                                                   WITHDRAW AS COUNSEL
          Plaintiff,

 v.                                                Case No. 2:19-cv-00209-TC

 GRANITE SCHOOL DISTRICT,                          District Judge Tena Campbell

          Defendant.

        The court, having reviewed the Motion for Leave to Withdraw as Counsel filed by Julianne

P. Blanch and Grace Pusavat and the law firm of Parsons Behle and Latimer, C. Ashley Callahan

from the Law Offices of C. Ashley Callan, and Joshua G. Jones of the Law Offices of Joshua G.

Jones (collectively, “Counsel”), and good cause appearing for such motion, hereby GRANTS the

motion.

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        IT IS HEREBY ORDERED that:

        1. Counsel may withdraw, and is hereby removed as counsel for Keith F. Bell,

            (“Plaintiff”);

        2. Unless a Notice of Substitution of Counsel has been filed, within twenty-one (21) days

            after entry of the order, or within the time otherwise required by the court, the

            unrepresented party shall file a notice of appearance;

        3. The present action with regard to Defendants shall be stayed until Plaintiff files its

            response to Defendant’s Motion for Partial Summary Judgement, or thirty (30) days

            after the appearance of the Notice of Substitution of Counsel, whichever occurs first.

        4. A party who fails to file such a Notice of Substitution of Counsel or Notice of

            Appearance may be subject to sanction pursuant to Federal Rule of Civil Procedure

            16(f)(1), including but not limited to dismissal or default judgment.

        IT IS SO ORDERED.

        DATED this ____ day of December 2019.

                                                      BY THE COURT:


                                                     _______________________________
                                                      Judge Tena Campbell




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